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                    Exhibit 6
(September 2022 Polygraph Rebuting Jailhouse Interview
 and Showing that Dorworth Did not Participate in Ghost
          Candidate Scandal or Misuse Cash)
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